aTRUR acre k identify your case:

 

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF CALIFORNIA

 

Case number (if known) Chapter 11

 

[-] Check if this an
amended filing

 

 

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy aig

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor's name Home Loan Center, Inc.

 

2. Allother names debtor

used in the last 8 years = EDBA Lending Tree Loans

Include any assumed FDBA Freeapprovalfinder.com, Inc.
names, trade names and

doing business as names

 

3. Debtor's federal
Employer Identification  XX-XXXXXXX
Number (EIN)

 

 

 

 

4. Debtor's address Principal place of business Mailing address, if different from principal place of
business
11115 Rushmore Drive 7 West 41st Avenue - #523
Charlotte, NC 28277 San Mateo, CA 94403
Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code
Mecklenburg Location of principal assets, if different from principal
County place of business

 

Number, Street, City, State & ZIP Code

 

5. Debtor's website (URL) None

 

6. Type of debtor (¥] Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
[_] Partnership (excluding LLP)
[| Other. Specify:

 

 

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Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1
Debtor

7.

Home Loan Center, Inc. Case number (if known)

 

 

Name

Describe debtor's business

A. Check one:

[_] Health Care Business (as defined in 11 U.S.C. § 101(27A))
[_] Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
[| Railroad (as defined in 11 U.S.C. § 101(44))

| Stockbroker (as defined in 11 U.S.C. § 101(53A))

[_] Commodity Broker (as defined in 11 U.S.C. § 101(6))

[| Clearing Bank (as defined in 11 U.S.C. § 781(3))

[¥] None of the above

B. Check alf that apply

[| Tax-exempt entity (as described in 26 U.S.C. §501)

[_] Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
L] Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
See http:/Avww.uscourts.gov/four-digit-national-association-naics-codes.

 

 

 

 

 

 

§239
8. Under which chapter of the Check one:
Bankruptcy Code is the
debtor filing? [_] Chapter 7
["] Chapter 9
i/] Chapter 11. Check ail that apply:
[_] Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
[| The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
business debtor, attach the most recent balance sheet, statement of operations, cash-flow
statement, and federal income tax return or if all of these documents do not exist, follow the
procedure in 11 U.S.C. § 1116(1)(B).
[_] Aplan is being filed with this petition.
[| Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).
{| The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
attachment to Voluntary Petition for Non-individuals Filing for Bankruptcy under Chapter 17
(Official Form 201A) with this form.
[| The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
| Chapter 12
9. Were prior bankruptcy [7] No.
cases filed by or against
the debtor within the last3 |_| Yes.
years?
If more than 2 cases, attach a
separate list. District When Case number
District When Case number
10. Are any bankruptcy cases —[\/] No
pending or being filed by a
business partner or an [_] Yes.
affiliate of the debtor?
List all cases. If more than 1, ; ;
attach a separate list Debtor Relationship
District When Case number, if known

 

 

Case: 19-51455 Doc#i1 Filed: 07/21/19 Entered: 07/21/19 17:40:35 Page 2 of 38
Official Form 201

Voluntary Petition for Non-individuats Filing for Bankruptcy page 2
Debtor Home Loan Center, Inc.

Name

11. Why is the case filed in
this district?
Vv]

Case number (if known)

 

Check all that apply:

Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.

[-] Abankruptcy case concerning debtor's affiliate, genera! partner, or partnership is pending in this district.

 

12. Does the debtor ownor {| No

have possession of any
real property or personal
property that needs
immediate attention?

[_] Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check ail that apply.)
[_] It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

 

[__] It needs to be physically secured or protected from the weather.

LJ It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

[_| Other

 

Where is the property?

 

Number, Street, City, State & ZIP Code
Is the property insured?

[| No

[-] Yes. Insurance agency

 

Contact name

 

Phone

 

 

Peed Statistical and administrative information

13. Debtor's estimation of
available funds

Check one:

[7] Funds will be available for distribution to unsecured creditors.
[| After any administrative expenses are paid, no funds will be available to unsecured creditors.

 

 

 

 

14. Estimated number of [_| 1-49 [_] 1,000-5,000 [_] 25,001-50,000
creditors (| 50-99 [_] 5001-10,000 [| 50,001-100,000

f¥] 100-199 [| 10,001-25,000 [_] More than100,000
[| 200-999

15. Estimated Assets [| $0 - $50,000 [| $1,000,001 - $10 million [] $500,000,004 - $1 billion
[| $50,001 - $100,000 [7] $10,000,001 - $50 million [| $1,000,000,001 - $10 billion
|__| $100,001 - $500,000 F] $50,000,001 - $100 million |__| $10,000,000,001 - $50 billion
[_] $500,001 - $1 million |] $100,000,001 - $500 million [_] More than $50 billion

16. Estimated liabilities* [_] $0 - $50,000 [_.] $1,000,001 - $10 million [__] $500,000,001 - $1 billion
|_| $50,004 - $100,000 7] $10,000,001 - $50 million |_| $1,000,000,001 - $10 billion
[_] $400,001 - $500,000 F] $50,000,001 - $100 million [_ | $10,000,000,001 - $50 billion
[| $500,001 - $1 million [| $100,000,001 - $500 million [__| More than $50 billion

 

*Notwithstanding the entry of the RFC judgment, the Debtor believes that after its appeal is prosecuted, the aggregate claims against it will be in the range
of liabilities checked on this petition. If the Debtor is not successful with its appeal, the amount of liabilities will be higher.

Case: 19-51455 Doc#1 Filed: 07/21/19 Entered: 07/21/19 17:40:35 Page 3 of 38

Voluntary Petition for Non-Individuals Filing for Bankruptcy

Official Form 201

page 3
Debtor
Name

Home Loan Centor, Inc.

Co Request for Rellef, Declaration, and Signatures

Case number (if known)

 

WARNING ~ Bankruptey fraud Ie a serious crime. Making a faise statement in connection with a bankrupicy case can result In fines up to $500,000 or
c.

imprisonment for up to 20 years, or both. 18 U.S.

17. Declaration and signature
of authorized
representative of debtor

 §§ 152, 1341, 1819, and 3571.

The debtor requasts relief In accordance with the chapter of title 11, United States Code, spectiad In thia petition,

{have been authorized to file this patition on behalf of the debtor.

have examined the information in this patition and have a reasonable belief that the information is trued and correct.

i declare under penalty of perjury that the foregoing is wue and correct.
Executed on oF é v 20] |
MM/ DD?

x MyhC- _

Signature of authorized representative of debtor

Title Chief Restructuring Officer

Matthew English
Printed nema

 

48. Signature of attorney

Offiqalgen 29 -51455

X ss/ Mather S. Pagey

 

Signature of atomey for debtor

Malhar S. Pagay
Printed name

Pachuiskl Stang Ziehl & Jones LLP
Firm name

10100 Santa Monica Blvd.

13th Floor

Los Angeles, CA 90087-4003
Number, Street, City, Slate & ZIP Code

Contact phone 340-277-8910

Ernall address

189289 CA
Bar numbar and State

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Data 07/21/2019
MM /DD 7 YYYY

mpagay@psziiaw.com

page 4
RESOLUTIONS OF THE BOARD OF DIRECTORS OF
HOME LOAN CENTER, INC.
(a California corporation)

A. Kyle Everett, being the sole member of the Board of Directors (the “Board”) of Home
Loan Center, Inc., a California corporation (the “Company”), adopts the following resolutions.

WHEREAS, the Board has considered the financial and operational (and non-operational)
aspects of the Company’s business;

WHEREAS, the Board has considered the company’s assets as well as its current and long
term liabilities of the Company (including but not limited to the judgment against the Company in
comnection with ResCap Liquidating Trust v. HLC, Case No 14-cy-1716 by the United States
District Court for the District of Minnesota (the “RFC Litigation”), the litigation pending against
the Company in Jn re Lehman Brothers Holdings, Inc. (Lehman Brothers Holdings, Inc. v. HLC),
Adversary Proceeding No. 16-01019 in the United States Bankruptcy Court for the Southern
District of New York (Bankruptcy Case No, 08-13555), indemnification demands made by
CitiBank, N.A, JP Morgan Chase & Co., Deutsche Bank National Trust Co., and potential
indemnification obligations to other investors;

WHEREAS, the Board has, over the last several months, reviewed the materials presented
to it by the management of and the advisors to the Company regarding the possible need to
undertake a financial restructuring of the Company;

WHEREAS, the Board has analyzed each of the financial and strategic alternatives
available to it, the significant likelihood of success in connection with appeal of the judgment in
the RFC litigation and the impact of the foregoing on the Company's stakeholders. Specifically,
the Board is aware that the plaintiff in the RFC Litigation will be authorized to commence
execution efforts with respect to the judgment on or about July 22, 2019 unless the Company is
able to post a bond to stay enforcement of the judgment pending the Company’s appeal of the
judgment. Execution on the judgment would prejudice other stakeholders by eliminating the
availability of assets to satisfy claims and interests asserted by other stakeholders. Since the
Company lacks the financial resources to post a bond, the only way to protect the interests of all
stakeholders is to commence a case under chapter 11 of the United States Bankruptcy Code to
obtain the benefits of the automatic stay while the Company appeals the judgment and to provide
the Company with an efficient and cost-effective forum to resolve any other claims against the
Company.

NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Board, it is desirable
and in the best interests of the Company, its creditors, stockholders and other interested parties
that a petition be filed by the Company seeking relief under the provisions of chapter 11 of title 11
of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the
Northern District of California (the “Bankruptcy Court”);

RESOLVED, that the officer of the Company (the “Authorized Officer”) be, and hereby
is, authorized on behalf of the Company to execute, verify and file all petitions, schedules, lists,
and other papers or documents, and to take and perform any and all further actions and steps that

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Case: 19-51455 Doc#1 Filed: 07/21/19 Entered: 07/21/19 17:40:35 Page 5 of 38

 
such Authorized Officer deems necessary, desirable and proper in connection with the Company’s
chapter 11 case, with a view to the successful prosecution of such case;

RESOLVED, that the Authorized Officer, on behalf of the Company, is authorized,
empowered and directed to retain the law firm of Pachulski Stang Ziehl & Jones LLP (““PSZ&J”)
as bankruptcy counsel to represent and assist the Company in carrying out its duties under chapter
11 of the Bankruptcy Code, and to take any and all actions to advance the Company’s rights in
connection therewith, and the Authorized Officer is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers prior to the filing of the bankruptcy,
and to cause to be filed an appropriate application for authority to retain the services of PSZ&J;

RESOLVED, that the Authorized Officer, on behalf of the Company, is authorized,
empowered and directed to retain the firm of Arch & Beam Global, LLC (“Arch + Beam”) to
provide Matthew English as Chief Restructuring Officer effective as of the date the petition is
filed, and in connection therewith, the Authorized Officer is hereby authorized and directed to
execute appropriate retention agreements, pay appropriate retainers prior to the filing of the
bankruptcy, and to cause to be filed an appropriate application for authority to retain the services
of Arch + Beam;

RESOLVED, that the Authorized Officer, on behalf of the Company, is authorized,
empowered and directed to retain the services of Williams & Connolly LLP (“W&C”) as the
Company’s special litigation and appellate counsel, effective as of the date the petition is filed,
and in connection therewith, the Authorized Officer is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers prior to the filing of the bankruptcy,
and to cause to be filed an appropriate application for authority to retain the services of W&C;

RESOLVED, that the Authorized Officer of the Company be, and hereby is, authorized
and directed to employ any other professionals necessary to assist the Company in carrying out its
duties under the Bankruptcy Code; and in connection therewith, the officers of the Company are
hereby authorized and directed to execute appropriate retention agreements, pay appropriate
retainers prior to the filing of the chapter 11 case and cause to be filed appropriate applications
with the Bankruptcy Court for authority to retain the services of any other professionals, as
necessary, and on such terms as are deemed necessary, desirable and proper;

RESOLVED, that the Authorized Officer be, and hereby is, authorized on behalf of the
Company to take any and all actions, to execute, deliver, certify, file and/or record and perform
any and all documents, agreements, instruments, motions, affidavits, applications for approvals or
rulings of governmental or regulatory authorities or certificates and to take any and all actions and
steps deemed by such Authorized Officer to be necessary or desirable to carry out the purpose and
intent of each of the foregoing resolutions and to effectuate a successful chapter 11 case;

RESOLVED, that any and all actions heretofore taken by the Authorized Officer or the
director of the Company in the name and on behalf of the Company in furtherance of the purpose
and intent of any or all of the foregoing resolutions be, and hereby are, ratified, confirmed, and

approved in all respects; and

RESOLVED, that the foregoing resolutions be filed with the records of the meetings of the
Board.

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Case: 19-51455 Doc#i1 Filed: 07/21/19 Entered: 07/21/19 17:40:35 Page 6 of 38

 
Dated: 7/ ( / f 9G Uy. LeU, bx

A. Kyle Everett

DOCS_LA:319922.5 36859/00!
Case: 19-51455 Doc#i1 Filed: 07/21/19 Entered: 07/21/19 17:40:35 Page 7 of 38

 
Fill in this information to identify the case:

Debtor name Home Loan Center, Inc.

United States Bankruptcy Court for the: Northern District of California
[] Check if this is an
Case number (If known): 19- amended filing

 

 

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims and Are Not Insiders 12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest
unsecured claims, on a consolidated basis.

Name of creditor and complete. Name, telephone number, and email Nature of the claim. Indicate if claim Amount of unsecured claim

mailing address, including zip address of creditor contact ‘(for example, trade is contingent, __ If the claim is fully unsecured, fill in only

code ‘debts, bank loans, unliquidated, or unsecured claim amount. If claim is partially
professional disputed ‘secured, fill in total claim amount and deduction
‘services, and for value of collateral or setoff to calculate
government unsecured claim.
contracts MSEC RR cea nei
: Total Deduction for. Unsecured claim

claim, if | value of
partially | collateral or
secured | setoff

1 ResCap Liquidating Trust Kathleen Sullivan, Esq. Judgment Disputed $68,484,502.06!
(as successor to Tel: (212) 849-7000
Residential Funding kathleensullivan@quinneman
Company, LLC) uel.com

Quinn Emanuel Urquhart
& Sullivan, LLP
51 Madison Avenue

 

 

 

 

22nd Floor
New York, NY 10010 -

2 Lehman Brothers Holdings Wollmuth Maher & Deutsch Indemnification, Contingent $40,200,000.007
Inc. LLP Unliquidated
Wollmuth Maher & William Maher, Esq. Disputed
Deutsch LLP Tel: (212) 382-3300
William Maher, Esq. wmaher@wmd-law.com
500 5th Avenue
New York, NY 10110 Fox Rothschild LLP

Michael A. Rollin, Esq.
Fox Rothschild LLP Tel: (212) 878-7900
Michael A. Rollin, Esq. mrollin@foxrothschild.com

101 Park Avenue, 17th Flr
New York, NY 10178

 

 

 

 

 

 

 

 

 

 

1 The Debtor believes that the claim asserted by ResCap Liquidating Trust is substantially overstated and that it will be allowed, if at all, ina

substantially reduced amount.
2 The Debtor believes that the claim asserted by Lehman Brothers Holdings Inc. is substantially overstated and that it will be allowed, if at all,

in a substantially reduced amount.
Official Form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims page 1

DOCS_LASIBSe: 19-51455 Doc#1 Filed: 07/21/19 Entered: 07/21/19 17:40:35 Page 8 of 38
Name of creditor and complete

Name, telephone number, and email. Nature of the claim Indicate if claim Amount of unsecured claim

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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mailing address, Including zip. address of creditor contact ‘(for example, trade is contingent, if the claim is fully unsecured, fill in only
code debts, bank loans,” unliquidated, or unsecured clairn amount. if claim Is partially
professional ‘disputed secured. fill in total’claim amount and deduction
services, and for value of collateral or setoff to calculate
government “unsecured claim, :
' Total Deduction for Unsecured claim
claim, if ; value of
partially | collateral or
gave bstnnnahiupeilisuu instants we : | Secured ; setoff seen see coe
3 JP Morgan Chase & Co. Annette C. Rizzi, Associate Indemnification) Contingent $3,100,000.000
Four New York Plaza General Counsel Unliquidated
19" Floor Tel:(212) 623-1570 Disputed
New York, NY 10004-2413 Annette.c.rizzi@jpmorgancha
se.com 2s
4 Christy Rogers Ellis and Andrew J. Brown, Esq. Judgment $1,500.00.
Jimmy Hoyt Ellis Tel: (423) 476-4515
c/o William J. Brown &
Associates, PLLC
23 N. Ocoee St.
P.O. Box 1001
Cleveland, TN 37364
5 Citibank, N.A. Becky Hancock, Repurchase ‘Indemnification Contingent Unknown
Citi Mortgage, Inc. Coordinator Unliquidated
1000 Technology Dr. Disputed
O'Fallon, MO 63368 es cementing . os
6 Credit Suisse Attention: Mortgage Banking Indemnification Contingent Unknown
1 Madison Ave. Department Unliquidated
New York, NY 10010 Disputed
7 Encore Credit Corporation ‘Attention: Mortgage Banking Indemnification Contingent Unknown
1833 Alton Pkwy. Department Unliquidated
Irvine, CA 92606 Disputed
8 Federal Home Loan Attention: Mortgage Banking Indemnification) Contingent Unknown
Mortgage Corporation Department Unliquidated
8200 Jones Branch Dr. Disputed
McLean, VA 22102-3110
9 GMAC Bank Attention: Mortgage Banking Indemnification Contingent Unknown
P.O. Box 380901 Department Unliquidated
Bloomington, MN 55438 Disputed
10\National City Mortgage Co.Attention: Mortgage Banking Indemnification Contingent Unknown
P.O. Box 1820 Department Unliquidated
Dayton, OH 45401-1820 Disputed
111US Bank Attention: Mortgage Banking Indemnification Contingent Unknown
P.O. Box 790408 Department Unliquidated
St. Louis, MO 63179-0408 Disputed
Official Form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims page 2
mailing address, including zip
code

Name of creditor and complete

' Name, telephone number, and email Nature of the clair [ndicate if claim: Amount of unsecured claim

address of creditor contact

‘professional

(for example, trade “ig contingent, if the claim is fully unsecured, fill in only

debis, bank loans, unliquidated, or unsecured claim amount. If claim is partially

‘disputed

“secured, fill in total claim amount and deduction

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

-services, and for value of collateral or setoff to calculate
government unsecured claim,
contracts) i
Total Deduction for' Unsecured claim
claim, if | value of
partially | collateral or
wil Ua alud : aS : secured | setoff
12Deutsche Bank Nationa! Attention: Mortgage Banking Indemnification, Contingent Unknown
Trust Co. Department Unliquidated
1961 East Saint Andrew Disputed
Place
Santa Ana, CA 92705 .
13:One West Bank, a division Attention: Mortgage Banking Indemnification, Contingent Unknown
‘of CIT Bank, N.A. Department Unliquidated
Successor to IndyMac Disputed
Federal! Bank, FSB sararnvuernininteonertaneesnaisctiniaarevimtienatetiemincci
75 North Fair Oaks Avenue
Pasadena, CA 91103
Official Form 204 Chapter 14 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims page 3

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PACHULSKI STANG ZIEHL & JONES LLP

ATTORNEYS AT LAW

Los ANGELES, CALIFORNIA

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Jeffrey N. Pomerantz (CA Bar No. 143717)

Jeremy V. Richards (CA Bar No. 102300)

Malhar S. Pagay (CA Bar No. 189289)

Pachulski Stang Ziehl & Jones LLP

10100 Santa Monica Blvd., 13" Floor

Los Angeles, CA 90067

Telephone: 310.277.6910

Facsimile: 310.201.0760

Email: jpomerantz@pszjlaw.com
jrichards@pszjlaw.com
mpagay@pszjlaw.com

Henry C. Kevane (CA Bar No. 125757)
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Telephone: 415.263.7000

Facsimile: 415.263.7010

Email: hkevane@pszjlaw.com

Proposed Attorneys for Home Loan Center, Inc.

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF CALIFORNIA

In re: Chapter 11
HOME LOAN CENTER, INC., Case No. 19- (__)
Debtor.
LIST OF EQUITY SECURITY
HOLDERS

 

Following is the list of the Debtor’s equity security holders which is prepared in accordance with
rule 1007(a)(3) for filing in this Chapter 11 Case:

 

 

 

 

 

 

Name and Last Known Address or Place of Security Number of Kind of
Business of Holder Class Securities Interest

Lending Tree, LLC

11115 Rushmore Drive Common 100% 100%

Charlotte, NC 28277-3442

 

 

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PACHULSKI STANG ZIEHL & JONES LLP

ATTORNEYS AT LAW

Los ANGELES, CALIFORNIA

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Los Angeles, CA 90067

Telephone: 310.277.6910

Facsimile: 310.201.0760

Email: jpomerantz@pszjlaw.com
jrichards@pszjlaw.com
mpagay@pszjlaw.com

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San Francisco, CA 94111

Telephone: 415.263.7000

Facsimile: 415.263.7010

Email: hkevane@pszjlaw.com

Proposed Attorneys for Home Loan Center, Inc.

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF CALIFORNIA

In re: Chapter 11
HOME LOAN CENTER, INC. Case No. 19- a)
Debtor.
CORPORATE OWNERSHIP

STATEMENT (RULE 7007.1)

 

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to
evaluate possible disqualification or recusal, the Debtor, certifies that the following is a
corporation other than the Debtor, or a governmental unit, that directly or indirectly owns 10%
or more of any class of the corporation’s equity interests, or states that there are no entities to

report under FRBP 7007.1.
C] None [check if applicable]

Name: Lending Tree, LLC
Address: 11115 Rushmore Drive
Charlotte, NC 28277-3442

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PACHULSKI STANG ZIEHL & JONES LLP

ATTORNEYS AT Law
Los ANGELES, CALIFORNIA

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Jeffrey N. Pomerantz (CA Bar No. 143717)

Jeremy V. Richards (CA Bar No. 102300)

Malhar S. Pagay (CA Bar No. 189289)

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Facsimile: 310.201.0760

Email: jpomerantz@pszjlaw.com
jrichards@pszjlaw.com
mpagay@pszjlaw.com

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150 California St., 15" Floor

San Francisco, CA 94111

Telephone: 415.263.7000

Facsimile: 415.263.7010

Email: hkevane@pszjlaw.com

Proposed Attorneys for Home Loan Center, Inc.

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF CALIFORNIA

In re: Chapter 11

HOME LOAN CENTER, INC., Case No. 19- ( )

Debtor.
CERTIFICATION OF CREDITOR
MATRIX

 

 

 

Pursuant to Rule 1007(a)(1) of the Federal Rules of Bankruptcy Procedure, the above
captioned Debtor hereby certifies that the Creditor Matrix submitted herewith contains the names
and addresses of the Debtor’s creditors. To the best of the Debtor’s knowledge, the Creditor Matrix
is complete, correct, and consistent with the Debtor’s books and records.

The information contained herein is based upon a review of the Debtor’s books and records
as of the petition date. However, no comprehensive legal and/or factual investigations with regard to
possible defenses to any claims set forth in the Creditor Matrix have been completed. Therefore, the
listing does not, and should not, be deemed to constitute: (1) a waiver of any defense to any listed
claims; (2) an acknowledgement of the allowability of any listed claims; and/or (3) a waiver of any

other right or legal position of the Debtor.

21pb0s5.445101Doc# 1 Filed: 07/21/19 Entered: 07/21/19 17:40:35 Page 13 of 38

 
CPG uC Cua ce

Debtorname Home Loan Center, Inc.

United States Bankruptcy Court forthe; NORTHERN DISTRICT OF CALIFORNIA

 

Case number (if known) C1 Check if this i
san

amended filing

 

 

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors zs

An individual whe Is authorized te act on behalf of a non-individual debtor, such ae a corporation or partnership, must sign and submit this
torm for the schedules of assets and Habllities, any other documant that requires a declaration that [s not Included In the document, and any
arnendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptey Rules 1008 and 6011.

WARNING ~ Sankruptcy fraud Is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud tn

‘ connection with a bankruptcy case can result in fines up to $600,000 or Imprisonment for up te 20 years, or both. 18 U.S.C. §§ 152, 1341,
1619, and 3671.

P| Osclaration and signature

Lam the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
individual serving as a representative of the debtor in this case.

 

| have examined the information in the documents checked below and | have a reasonable belief that the information fs (rue and correct:

Schedule A/B: Assets-Real and Personal Property (Official Form 208A/8)

Schedule 0: Creditors Who Have Claims Secured by Property (Official Form 2080)

Schedule E/E: Creditors Who Have Unsacured Claims (Official Form 206E/F)

Schedule G: Executory Contracts and Unexpired Leases (Official Form 2066)

Schedule H: Codabtors (Official Form 206H)

Summary of Assats and Liabilities for Non-individuals (Official Form 206Sum)

Amended Schedule

Chapter 11 or Chapter 9 Cases; List of Creditors Wno Have the 20 Largest Unsecured Claims and Ara Not Insiders (Official Form 204)

Other document that requires a declaration —_ List of Equity Holders, Corporate Gwnerahip Statement, Creditor Matrix
Verification

 

Beqnooonogd

i declare under penalty of perjury that the foregoing is true ang cor 4 ;
Executed on OF fey) 2015 x Hy FAL (mn
7

Signature of individual signing on behalf of deblor

Matthew English
Printed name

Chief Restructuring Officer
Position or relationship lo debtor

Official Form 202 Bectaration Under Penalty of Perjury for Non-Individual Debtore
Software Copyright (c} 1963-2019 Boat Caso, LLC - www.besicesa.com Best Cosa Gankupky

Case: 19-51455 Doc#1 Filed: 07/21/19 Entered: 07/21/19 17:40:35 Page 14 of 38
1900 Capital Trust II

c/o Gross, Polowy & Orlans, Esq.
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Buffalo, NY 14221

Adam Steven Kerekanich
13801 Riverport Drive. Suite 502
Maryland Heights, MO 63043

Alabama Dept of Revenue
P.O. Box 320001
Montgomery, AL 36132

Alan D. Walton

Re: Pamela Lee Techow
8070 Main Street, Box 489
Birch Run, MI 48415

Alaska Dept of Revenue
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Juneau, AK 99811

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2005 North Central Ave.
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Arkansas Dept of Finance and Admin
P.O. Box 1272
Little Rock, AR 72203

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Audrey Earl Featherston
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Bank of America

c/o Frenkel Lambert Weiss Weisma
20 West Main Street

Bay Shore, NY 11706

Bank of America

2112 Business Center Drive
Second Floor

Irvine, CA 92612

Bank of America Home Loans
Warehouse Lending

8511 Fallbrook Ave., 3rd Floor
Mail Code: CA9-911-03-23
West Hills, CA 91304

Bank of America Home Loans
225 West Hillcrest Drive
Mail Code: CA6-918-01-03
Thousand Oaks, CA 91360

 

Bank of New York Mellon
255 Merrick Rd.
Rockville Centre, NY 11570

Bank of New York Mellon
c/o Maria Siderus

242 Drexel Ave
Westbury, NY 11590

Bank of New York Mellon
c/o Joshua R. Orem
Shapiro & Sutherland LLC
7632 SW Durham Rd, Ste 350
Tigard, OR 97224

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Bank of NY Mellon

c/o Robin L. Miller
400 S. Hope St.

Ste. 400

Los Angeles, CA 90071

Barry Ray Collier
2634 Martin Luther King Highway
Waverly, VA 23890

Bayview Loan Servicing, LLC

c/o O'Connell Attmore & Morris LLC
280 Trumbull St.

Hartford, CT 06103-3598

Beneficial Homeowner Service
c/o Fein, Such & Crane

28 East Main St., Suite 1800
Rochester, NY 14614

Brian Jay Powers
7328 Chesapeake Road
Middle Village, MD 21220

California Sec of State - Fee/Tax Admin
Account Info Group, MIC 29

P.O. Box 924879

Sacramento, CA 94279

Celeste Y. Braxton, et al.
2227 W. Jefferson St.
Louisville, KY 40212

Charles A. Reinhardt, Jr.
Re: City of Durham

3805 University Drive, STEE
Durham, NC 27707

Case: 19-51455 Doc#1 Filed: 07/21/19 Entered: 07/21/19 17:40:35 Page 17 of 38
Chase Mortgage Warehouse Finance
Attn: Veronica J. Chapple

Senior Operations Manager

14800 Frye Road, Mailstop TX1-0022
Fort Worth, TX 76155

CIT Bank, NA

c/o Windels Marx Lane LLP
156 W 56th Street

New York, NY 10019

CitiBank, N.A.

Becky Hancock, Repurchase Coordinator,
Citi Mortgage, Inc.

1000 Technology Dr.

O Fallon, MO 63368

CitiMortgage, Inc.

Attn: Richard P. McCoppin

Manager Eligibility & Wholesale MIS
1000 Technology Drive/MS 111
O'Fallon, MO 63304

Codilis Law, LLC

Re: Wells Fargo Bank
8050 Cleveland Place
Merrillville, IN 46410

Colorado Secretary of State
Bankruptcy Unit

1375 Sherman St., Rm. 504
Denver, CO 80261

Comptroller of Maryland
P.O. Box 1829
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Connecticut Dept of Revenue Services
450 Columbus Blvd
Hartford, CT 06103

Case: 19-51455 Doc#1 Filed: 07/21/19 Entered: 07/21/19 17:40:35 Page 18 of 38
Corodata
2621 Research Dr.
Corona, CA 92882

Countrywide Bank, FSB
8511 Fallbrook Avenue
Mail Stop: WH-51F

West Hills, CA 91304

Countrywide Home Loans, Inc.
Correspondent Lending Division

450 American Street, Mail Stop No. SV3-5
Attn: VP of Production

Simi Valley, CA 93065

Credit Suisse

Attn: Mortgage Banking Dept.
11 Madison Ave.

New York, NY 10010

Daisy Criscitiello
49 Deborah Loop
Staten Island, NY 10312

Darren M. Welsh
409 W. 14th St
Atlantic, IA 50022

David Myers
121 McMahan Road
Seymour, TN 37865

Dawn R. Levine

Re: Jacqueline J. Waldon
274 Washington Avenue
Marietta, GA 30060

Case: 19-51455 Doc#1 Filed: 07/21/19 Entered: 07/21/19 17:40:35 Page 19 of 38
Delaware Div of Revenue
Carvel State Office Bldg
820 N. French St., 8th Flr.
Wilmington, DE 19801

Deutsche Bank National Trust
c/o Leopold & Associates, PLLC
80 Business Park Dr.

Ste. 110

Armonk, NY 10504

Deutsche Bank National Trust Co.
Attn: Mortgage Banking Dept.
1961 East Saint Andrew Place
Santa Ana, CA 92705

Deutsche Bank National Trust Co.
c/o Sun Young Park, Esq.

300 South Grand Ave.

41st Flr.

Los Angeles, CA 90071

Deutsche Bank Trus Company Americas
as Trustee for Res Accredit Loans, Inc.
c/o McCalla Raymer Leibert Pierce LLC
50 Weston St

Hartford, CT 06120

Discover Bank

12 Read's Way
Attention: Mike Rickert
New Castle, DE 19720

Discover Bank

Attn: Mike Rickert
12 Read's Way

New Castle, DE 19720

Case: 19-51455 Doc#1 Filed: 07/21/19 Entered: 07/21/19 17:40:35 Page 20 of 38
Discover Financial Services
Attention: Kelly McNamara Corley
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Riverwoods, IL 60015

Discover Financial Services
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Attention: Paul L. Choi

One South Dearborn Street
Chicago, IL 60603

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1101 4th St, SW

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Ditech Financial LLC

McCalla Raymer Leibert Pierce LLC
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Ditech Financial LLC
c/o Zack Baisley

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Drusilla L. Stevenson
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JONESBORO, ME 04648

Eastern Savings Bank

c/o Geraghty & Bonnano LLC
38 Granite Street

P.O. Box 231

New London, CT 06320

Case: 19-51455 Doc#1 Filed: 07/21/19 Entered: 07/21/19 17:40:35 Page 21 of 38
Edward A. Alarcon-MacLain
7510 SW 26 Court
Davie, FL 33314

Employment Development Department
Bankruptcy Unit - MIC 92E

P.O. Box 826880

Sacramento, CA 94280-0001

Encore Credit Corporation
Attn: Mortgage Banking Dept.
1833 Alton Pkwy

Irvine, CA 92606

Federal Home Loan Mortgage Corporation
Attn: Mortgage Banking Dept.

8200 Jones Branch Dr.

Mc Lean, VA 22102-3110

Federal National Mortgage Association
3900 Wisconsin Ave., NW
Washington, DC 20016-2892

FELIX ALAMO
3119 W DOUGLAS ST
TAMPA, FL 33607

First Residential Mortgage Network, Inc.
Attention: Saul L. Pohn

9721 Ormsby Station Road

Louisville, KY 40223

First Residential Mortgage Network, Inc.
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2000 McKinney Avenue, Suite 1700

Attn: Michael Waldron

Dallas, TX 75201

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Florida Dept of Revenue
Office of General Counsel
P.O. Box 6668
Tallahassee, FL 32314

FNMA

c/o Gross Polowy Orlans LLC
1775 Wehrle Drive, Ste 100
Williamsville, NY 14221

FNMA

c/o Rosicki & Associates, P.C.
51 E. Bethpage Rd

Plainview, NY 11803

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Franchise Tax Board
Bankruptcy Section, MS A-340
P.O. Box 2952

Sacramento, CA 95812-2952

GMAC Bank

Attn: Mortgage Banking Dept.
P.O. Box 380901

Bloomington, MN 55438

Case: 19-51455 Doc#1 Filed: 07/21/19 Entered: 07/21/19 17:40:35 Page 23 of 38
Greater New Haven Water Pollution Cont.
c/o Parrett Porto Parese & Colwell PC
2319 Whitney Ave., Ste. 1D

Hamden, CT 06518

Hal R, Kyles

Re: Highland Court Residence Homeowners'
1445 Market Street, Suite 350

Denver, CO 80202

Hawaii Dept of Taxation
830 Punchbowl St
Honolulu, HI 96813

Hope E. Collier
2634 Martin Luther King Highway
Waverly, VA 23890

HSBC Bank USA

c/o McCabe, Weisberg & Conway, PC
145 Huguenot Street, Ste 210

New Rochelle, NY 10801

Idaho State Tax Commission
11321 W. Chinden Blvd., Bidg 2
Boise, ID 83714

Illinois Dept of Revenue
P.O. Box 19035
Springfield, IL 62794

Indiana Dept of Revenue
P.O. Box 6197
Indianapolis, IN 46206

Case: 19-51455 Doc#1 Filed: 07/21/19 Entered: 07/21/19 17:40:35 Page 24 of 38
Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346

Iowa Dept of Revenue
P.O. Box 10470
Des Moines, IA 50306

Iron Mountain
1760 North Saint Thomas Circle
Orange, CA 92665

James Garnet

Re: US Bank National Association
1080 Main Street

Pawtucket, RI 02860

Jason P. Grable

Re: State of Ohio, Department of Taxatio
81 South 4th Street, Suite 300

Columbus, OH 45249

John E. Baldacci, Ur.

Re: Wilmington Savings Fund
30 Danforth Street, Suite 104
Portland, ME 04101

JP Morgan Chase & Co.

Annette C. Rizzi, Assoc. General Counsel
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c/o James A. Craft

1499 SE Tech Center Pl., Suite 255
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JPMorgan Chase Bank, N.A.
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Attention: Jack Camiolo
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JPMorgan Chase Bank, N.A.

Attn: Marjorie A. Hirsch

Vice President and Asst General Counsel
1111 Fanin, 10th Flr (Mail Code TX2-F069
Houston, TX 77002

JPMorgan Chase Bank, N.A.
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Case: 19-51455 Doc#1 Filed: 07/21/19 Entered: 07/21/19 17:40:35

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JPMorgan Chase Bank, N.A.
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Kansas Dept of Revenue
Attn: Bankruptcy Unit
Civil Tax Enforcement

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Re: PHH Mortgage Corporation
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Kentucky Dept of Revenue

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Frankfort, KY 40602

Kim Lynam
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Andrews, SC 29510

Lamchick Law Group, P.A.

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500 5th Avenue

New York, NY 10110

Lending Tree, Inc.
11115 Rushmore Drive
Charlotte, NC 28277

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Louisiana Secretary of State

Attn: Bankruptcy/Litigation Division
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Baton Rouge, LA 70802

Maine Revenue Services
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Augusta, ME 04332

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McRae & Metcalf

Re: Keith Mneill Plumbing Contractor v.
2612 Centennial Place

Tallahassee, Fil 32308

Case: 19-51455 Doc#1 Filed: 07/21/19 Entered: 07/21/19 17:40:35

Page 28 of 38
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Midfirst Bank

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Minnesota Dept of Revenue
600 Robert St. N.
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Mississippi Dept of Revenue
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P.O. Box 1033

Jackson, MS 39215

Case: 19-51455 Doc#1 Filed: 07/21/19 Entered: 07/21/19 17:40:35 Page 29 of 38
Missouri Dept of Revenue
P.O. Box 3300
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Montana Dept of Revenue
Attn: Bankruptcy

P.O. Box 8021

Helena, MT 59604

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Elmsford, NY 10523-2300

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300 W. State Street, Suite 300
Media, PA 19063

National City Bank

101 South Fifth Street, 6th Floor

Attn: Michael A. Johnson, Vice Presiden
Louisville, KY 40202

National City Mortgage Co.
Attn: Mortgage Banking Dept.
P.O. Box 1820

Dayton, OH 45401-1820

Case: 19-51455 Doc#1 Filed: 07/21/19 Entered: 07/21/19 17:40:35 Page 30 of 38
Nationstar Mortgage LLC
c/o John Andrew Di Caro
175 Mile Crossing Blvd
Rochester, NY 14624-6249

Nevada Dept of Taxation
Attn: Bankruptcy/Legal
1550 College Pkwy
Carson City, NV 89701

New Hampshire Dept of Revenue
Attn: Bankruptcy/Legal

P.O. Box 637

Concord, NH 03302

New Jersey Div of Taxation
Bankruptcy Section

State of New Jersey/Dept of Treasury
P.O. Box 245

Trenton, NJ 08695

New Mexico Taxation & Revenue Dept
Attn: Bankruptcy/Legal

P.O. Box 25127

Santa Fe, NM 87504

New York State Dept of Taxation
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Albany, NY 12205

North Carolina Dept of Revenue
ATtn: Bankruptcy Unit

P.O. Box 1168

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Ocwen Loan Servicing, LLC

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114 Old County Rd., Ste 400
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Case: 19-51455 Doc#1 Filed: 07/21/19 Entered: 07/21/19 17:40:35 Page 31 of 38
Office of State Tax Commissioner
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Ohio Dept of Taxation
30 E. Broad St.

21st Floor

Columbus, OH 43215

Oklahoma Tax Commission
Attn: Legal Division

100 North Broadway, Ste. 1500
Oklahoma City, OK 73102

OneWest Bank, a div. of CIT Bank, N.A.
Successor to IndyMac Federal Bank, FSB
Attn: Mortgage Banking Dept.

75 North Fair Oaks Ave

Pasadena, CA 91103

Oregon Dept of Revenue
Attn: Bankruptcy/Legal
P.O. Box 14790

Salem, OR 97309

Pennsylvania Dept of Revenue
P.O. Box 280427
Harrisburg, PA 17128

Peter A. Koort, Attorney

BWW Law Group, LLC

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PNC Bank, NA

c/o Calvin A. Knickerbocker, III
RCO Legal PS

511 SW 10th Ave., Ste 400
Portland, OR 97205

Case: 19-51455 Doc#1 Filed: 07/21/19 Entered: 07/21/19 17:40:35 Page 32 of 38
PNC Bank, National Association
c/o MCCABE, WEISBERG & CONWAY, PC
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New Rochelle, NY 10801

Quickbooks

Intuit Inc.

2800 BE. Commerce Center Pl
Tucson, AZ 85706

Raymond F. Runyon, Esq.
Runyon & Runyon

301 Main Street
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ResCap Liquidating Trust as successor to
Residential Funding Company, LLC)

Quinn Emanuel Urquhart & Sullivan LLP

51 Madison Ave., 22nd Floor

New York, NY 10010

Rhode Island Div of Taxation
One Capitol Hill
Providence, RI 02908

Richard H. Broderick
Re: Danyel L. Tardy
P.O. Box 5

Lincoln, ME 04457

Roger Criscitello
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Ronald Collins
140 Homewood Drive
Genoa, IL 60135

Case: 19-51455 Doc#1 Filed: 07/21/19 Entered: 07/21/19 17:40:35 Page 33 of 38
Ronald Osburn
4523 W. Evergreen Ct.
Visalia, CA 93277

Saul O. Leopold

Re: Deutsche Bank National Trust Company
80 Business Park Drive, Suite 110
Armonk, NY 10504

Saul 0. Leopold

Re: The Bank Of New York Mellon
80 Business Park Drive, Suite 110
Armonk, NY 10504

Scott B. Tankel

Re: Brandon Brook Homeowners
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Dunedin, FL 34698

Shirley Neely
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Greenville, SC 29605

Simone Sebastian

Re: PNC Bank, National Association
7 Century Drive, Suite 201
Parsippany, NJ 07054

South Carolina Dept of Revenue
P.O. Box 12265
Columbia, SC 29211

South Dakota Dept of Revenue
Anderson Bldg., Mail Code 5055445
East Capitol Ave

Pierre, SD 57501

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State of Georgia Dept of Revenue
Legal Affairs & Tax Policy

1800 Century Blvd. NE, Ste 15209
Atlanta, GA 30340

Steven Ozonian
50 Vista Del Sol
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Steven V. Barker
2107 Broadway
Kalamazoo, MI 49008

Susan W. Cody

Re: Brian Easler & Stephanie Easler
900 Chelmsford Street, Suite 3102
Lowell, MA 01851

Tammy R. Grantham
1201 Willis Hill Road
Victor, NY 14564

Tasha A. Welsh
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Techow

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Breckenridge & Associates
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Tennessee Dept of Revenue

Attn: Collection Services/Bankruptcy
500 Deaderick St., Floor 8

Nashville, TN 37242

Case: 19-51455 Doc#1 Filed: 07/21/19 Entered: 07/21/19 17:40:35 Page 35 of 38
Texas Comptroller
P.O. Box 13528
Capitol Station
Austin, TX 78711

The Unknown Heirs of David A. Hooshangia
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Prairie Village, KS 66208

Timothy Ferris
2607 Forest Avenue 130
Chico, CA 95928

U.S. Bank National
c/o'Gross Polowy, LLC

1775 Wehrle Drive, Suite 100
Williamsville, NY 14221

US Bank

Attn: Mortgage Banking Dept.
P.O. Box 790408

Saint Louis, MO 63179-0408

Utah State Tax Commission
Attn: Bankruptcy/Legal
Taxpayer Services Division
210N. 1950 W

Salt Lake City, UT 84134

Vermont Department of Taxes
133 State Street
Montpelier, VT 05633

Washington State Department of Revenue
P.O. Box 47464
Olympia, WA 98504

Case: 19-51455 Doc#1 Filed: 07/21/19 Entered: 07/21/19 17:40:35 Page 36 of 38
Wells Fargo Bank NA

c/o Gross Polowy LLC

1775 Wehrl Drive, Suite 100
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Wells Fargo Bank, NA

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565 Taxter Rd.

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Elmsford, NY 10523

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Case: 19-51455 Doc#1 Filed: 07/21/19 Entered: 07/21/19 17:40:35 Page 37 of 38
Wyoming Dept of Revenue
122 W. 25th St.
3rd Floor East

Cheyenne, WY 82002

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